         Case 1:19-cv-01634-WMR Document 65 Filed 07/23/19 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GEORGIA ADVOCACY OFFICE
et aL,

               Plaintiffs,                    CWIL ACTION
         V.
                                              NO. 1:19-CV-1634-WMR-JFK
THEODORE JACKSON             et aL,

               Defendants.



                                      ORDER

     This matter is before the Court on Plaintiffs' Motion for

Preliminary Injunction [Doc. 16]. For the reasons summarized below,


which wUl be discussed in greater detail in a forthcoming opinion as


required by 18 ILS*C* § 3626(a)(2), the Court wiU grant the motion.

                               BACKGROUND

     Plaintiffs Georgia Advocacy Office (GAO), M.J, and K.H, filed

this action against Fulton County Sheriff Theodore Jackson, Fulton

County Chief Jailer Mark Adger, Health Program Manager ]Meredieth

Lightbourne, Detention Captain Tyna Taylor, and Detention


Lieutenant Pearlie Young. [Doc. 1.]
       Case 1:19-cv-01634-WMR Document 65 Filed 07/23/19 Page 2 of 5




      The complaint in this action seeks prospective relief to remedy an


alleged policy and practice of holding women with psychiatric

disabilities in solitary confinement in the South Fulton Jail s B-, C-,and


G-Pods, known as "mental health pods." [Doc. 1 ^ 89.] On May 7, 2019,


Plaintiffs filed a motion for a preliminary injunction against that policy.

[Doc. 16.] After the motion was briefed by the parties, the Court held

evidentiary hearings regarding the motion on July 15, July 18, and July

19,2019.


     Having considered the evidence filed by the parties, the evidence

presented by the parties at the evidentiary hearing, and the arguments


and briefs of the parties, the Court finds that the evidence supports the

granting of a preUminary injunction. Specifically, the Court find that

the Plaintiffs are likely to prevail on the merits of their claims that

Defendants are deliberately indifferent to the serious mental health

needs of Plaintiffs; that Defendants have discriminated against

Plaintiff's and denied Plaintiffs access to programs and services at the


jail based upon their disability. The Court further finds that the

potential for harm to the Plaintiffs outweighs the potential harm to the

Defendants, that the harm to the Plaintiffs in faUing to grant an




                                     2
       Case 1:19-cv-01634-WMR Document 65 Filed 07/23/19 Page 3 of 5




injunction is irreparable, and that it is in the public s best interest that

this injunction be granted. Based on these findings, Plaintiffs motion

for preliminary injunction is GRANTED. The Court ORDERS

Defendants to take the following actions:

      1. Within 7 days of the entry of this Order, develop a system to

track each individuals out of ceU time within B, C and G pod and that

each woman be permitted at least 1 hour recreation time and 2 hours of


free time daily.


      2. Within 30 days of the entry of this Order, offer at least four

hours of daily out-of-ceU time to each woman assigned to B-Pod, C-Pod,


and G-Pod on at least five days each week. At least one hour per day


shaU include outdoor recreation or indoor gym time.


      3. Within 30 days of the entry of this Order, establish and file

with the Court a written plan, designed to be implemented within

another 30 days, for providing sanitary conditions of confinement and


out-of-ceU therapeutic activities to each woman assigned to B-Pod, C-


Pod, or G-Pod on at least five days each week. The plan must


specifically address (a) steps to assist women in maintaining their

hygiene; (b) steps to achieve a clean and safe living space in each pod;
      Case 1:19-cv-01634-WMR Document 65 Filed 07/23/19 Page 4 of 5




(c) structured out-of-cell group activities; (d) designation and training of

officers assigned to work in a non-acute housing unit; and (e)


addressing and maintaining the physical plant of the jail. Defendants

shaU confer in good faith with Plaintiffs counsel to create terms of the

new plan. If the parties are unable to agree on the content of the plan,


Plaintiffs may submit written objections to the Defendants' plan within

14 days of the date on which Defendants file it.

     4. Nothing in this Order shall prevent Defendants from

denying out-of-cell time to a woman assigned to B-Pod, C-Pod, or G-Pod


where doing so is necessary to prevent an immediate and substantial


risk of serious harm to a person. If out-of-cell time is denied for any


individual detainee in accordance with this paragraph, the reasons for


the denial shall be fully documented, to include the name of the

detainee, date of out-of-cell time denial, and the specific reason for the


denial. No detainee may be denied out-of-cell time under this


paragraph for a period greater than 24 hours.
       Case 1:19-cv-01634-WMR Document 65 Filed 07/23/19 Page 5 of 5




      5.   Failure to comply with this Order shall not be excused by

allegations of inadequate staffing. 1



                               rd.
      SO ORDERED this      �3 day of July, 2019.


                                     �M-��
                                     WILLIAM M. RAY, II\j
                                     UNITED STATES DISTRICT JUDGE/
                                                                             I



1
 The relief ordered herein is narrowly drawn, extends no further than
necessary to correct the violation of the constitutional right at issue,
and is the least intrusive means necessary to correct the violation of the
Federal right. See 18 U.S.C. § 3626(a)(l). The Court will make the
"particularized findings" required by 18 U.S.C. § 3626(a)(2) in its
forthcoming opinion.



                                        5
